

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-68,907-01






DAVID HARRIS, Relator


v.


 JUDGE, 346TH JUDICIAL DISTRICT COURT, Respondent







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NO. 20020D05384-346-1
			

FROM EL PASO COUNTY





	Per curiam.


O R D E R



	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original jurisdiction
of this Court.  In it, he contends that he filed an application for a writ of habeas corpus in the 346th Judicial
District Court of El Paso County, that more than 35 days have elapsed, and that the application has not yet
been forwarded to this Court. Relator contends that the district court entered an order designating issues
on February 28, 2007.

	 In these circumstances, additional facts are needed.  The respondent, the judge of the 346th
District Court of El Paso County, is ordered to file a response with this Court by having the District Clerk
submit the record on such habeas corpus application or by setting out the reasons that no findings have
been made since the order designating issues was entered.  This application for leave to file a writ of
mandamus will be held in abeyance until the respondent has submitted the appropriate response.  Such
response shall be submitted within 30 days of the date of this order.


Filed: January 23, 2008

Do not publish	


